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            Exhibit 5
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                                          U.S. Patent No. 8,253,706 (“’706 Patent”)
Exemplary Accused Product

        Cypress products, including at least each of the following products (and their variations) infringe at least Claim 1 of the ’706
Patent: Capsense enabled Cypress products, including MBR3, CY8CMBR2110, CY8CMBR2044, CY8CMBR2016, CY8CMBR2010,
CY8CMBR3XXX, and Capsense-enabled PSoC. The infringement chart below is based on the Cypress PSoC with CapSense
(“CapSense”), which is exemplary of the infringement of the ’706 Patent.

                   Claim                                                             CapSense
 [1pre] A method comprising:                 The CapSense touchcontroller provides capacitive touch sensing functionality,
                                             including in noisy and moist environments.

                                             For example, a CapSense-enabled touch sensor may exhibit noise sources impacting
                                             signal to noise (SNR) parameters. CapSense utilizes capacitor raw capacitor charge
                                             counts to distinguish touch from noise.




                                             See Getting Started with CapSense, at p. 10,
                                             https://www.cypress.com/file/41076/download




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              See Getting Started with CapSense, at p. 12,
              https://www.cypress.com/file/41076/download




              See Getting Started with CapSense, at p. 18,
              https://www.cypress.com/file/41076/download




              See PSoC 4 and PSoC 6 MCU CapSense Design Guide, at p. 15,
              https://www.cypress.com/file/46081/download




              See Getting Started with CapSense, at p. 20,
              https://www.cypress.com/file/41076/download




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              See CSA Software Filters with Ezl2Cs Slave on CY8C20xx6, at p. 10,
              https://www.cypress.com/file/137541/download




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[1a] acquiring a first response from an      The CapSense touchcontroller acquires a first response from an output line of a matrix
output line of a matrix touch screen, the    touch screen, the first response being a capacitively induced signal derived from a rising
first response being a capacitively          edge of a pulse applied to an input line of the matrix touch screen.
induced signal derived from a rising edge
of a pulse applied to an input line of the   For example, CapSense-enabled touch sensor acquires a first signal from the matrix
matrix touch screen;                         touch sensor during the rising edge of the switching clock.




                                             See PSoC 4 and PSoC 6 MCU CapSense Design Guide, at p. 27,
                                             https://www.cypress.com/file/41076/download




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              See PSoC 4 and PSoC 6 MCU CapSense Design Guide, at p. 25,
              https://www.cypress.com/file/41076/download




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              See Getting Started with CapSense, at p. 14,
              https://www.cypress.com/file/41076/download




              See PSoC 4 and PSoC 6 MCU CapSense Design Guide, at p. 135,
              https://www.cypress.com/file/46081/download




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              See PSoC 4 and PSoC 6 MCU CapSense Design Guide, at p. 19,
              https://www.cypress.com/file/41076/download




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                                              See PSoC 4 and PSoC 6 MCU CapSense Design Guide, at p. 32,
                                              https://www.cypress.com/file/46081/download

[1b] acquiring a second response from         The CapSense touchcontroller acquires a second response from the output line of the
the output line of the matrix touch screen,   matrix touch screen, the second response being a capacitively induced signal derived
the second response being a capacitively      from a falling edge of the pulse applied to the input line of the matrix touch screen.
induced signal derived from a falling
edge of the pulse applied to the input line   For example, CapSense senses the sourced current Ics sourced from the capacitor the
of the matrix touch screen; and               sensor capacitor.




                                              See PSoC 4 and PSoC 6 MCU CapSense Design Guide, at p. 45,
                                              https://www.cypress.com/file/41076/download




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              See PSoC 4 and PSoC 6 MCU CapSense Design Guide, at p. 34,
              https://www.cypress.com/file/46081/download




              See PSoC 4 and PSoC 6 MCU CapSense Design Guide, at p. 34,
              https://www.cypress.com/file/46081/download




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                                           See PSoC 4 and PSoC 6 MCU CapSense Design Guide, at p. 19,
                                           https://www.cypress.com/file/46081/download

[1c] manipulating the first response and   The CapSense touchcontroller manipulates the first response and the second response to
the second response to reject noise at     reject noise at frequencies less than a frequency associated with the pulse.
frequencies less than a frequency
associated with the pulse.                 For example, CapSense manipulates the row count responses which include the first and
                                           second responses (i.e. IDAC sinking and sourcing mode responses) to reject noise
                                           having low or at the touch sensor’s operational frequency.




                                           See CAPSENSE(R) EXPRESS(TM) - DESIGN TO PRODUCTION, at p. 10,
                                           https://www.cypress.com/file/140271/download




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              See Getting Started with CapSense, at p. 58,
              https://www.cypress.com/file/41076/download




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              See Getting Started with CapSense, at p. 57,
              https://www.cypress.com/file/41076/download




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              See Getting Started with CapSense, at p. 57,
              https://www.cypress.com/file/41076/download




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              See CSA Software Filters with Ezl2Cs Slave on CY8C20xx6, at p. 10,
              https://www.cypress.com/file/137541/download




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